                        Case 1:22-cv-07855-RA Document 37 Filed 11/30/22 Page 1 of 1




 MIRANDA SLONE SKLARIN VERVENIOTIS LLP
 _________________________________________________________________________________________________________________________________________________________________________________________________________________________________________

                                                                                                                                                                                                            SENIOR COUNSEL
  MICHAEL A. MIRANDA*                                                                         THE ESPOSITO BUILDING                                                                                         LOUISE FASANO
  STEVEN VERVENIOTIS
                                                                                             240 MINEOLA BOULEVARD                                                                                        ANNE P. EDELMAN
  ONDINE SLONE
                                                                                               MINEOLA, NY 11501                                                                                     ABRAHAM WARMBRAND
  RICHARD S. SKLARIN°
                                                                                                                                                                                                              LAURA ALTO
  MAURIZIO SAVOIARDO                                                                            TEL (516) 741-7676
                                                                                                                                                                                                     ____________________
  ANDREW B. KAUFMAN±                                                                            FAX (516) 741-9060
  LAWRENCE S. WASSERMAN*                                                                                                                                                                                              ASSOCIATES
  ______                                                                                                WWW.MSSSV.COM
                                                                                                                                                                                                    GABRIELLA CAMPIGLIA
                                                                                                                                                                                                      RICHARD B. EPSTEIN
                                                                                                                                                                                                 CHRISTOPHER J. LAMPERT*
  *ALSO ADMITTED IN NEW JERSEY                                                                          BRANCH OFFICES:                                                                             BRANDON H. DORMAN
  □ALSO ADMITTED IN FLORIDA
  ±ALSO ADMITTED IN DISTRICT OF COLUMBIA                                                                WESTCHESTER, NY                                                                                MICHAEL R. SEIDON
  ° RESIDENT IN WESTCHESTER
                                                                                                         NEW YORK, NY                                                                                   ANDRÉ S. HAYNES
                                                                                                        WOODBRIDGE, NJ
  WRITER’S DIRECT DIAL:
  516-741-7755                                                                           Application granted. The initial conference scheduled for December 2, 2022 is hereby
                                                                                         adjourned to January 13, 2023 at 3:00 p.m. The pre-conference materials, as described in the
  WRITER’S E-MAIL:                                                                       Court's Order dated October 18, 2022, shall be due on January 6, 2023. The parties shall use
  MMIRANDA@MSSSV.COM
                                                                                         the following dial-in information to call in to the conference: Call-in Number: (888) 353-4749;
  November 29, 2022                                                                      Access Code: 1015508.

 VIA ECF                                                                                 SO ORDERED.
 Hon. Ronnie Abrams
 United States District Court
 Southern District of New York                                                           ________________________
 40 Foley Square, Room 2203                                                              Hon. Ronnie Abrams
 New York, NY 10007                                                                      November 30, 2022


                   Re:             Jeanette Gambaro & Joseph Gambaro v. 1917 ACP Owner LLC, et al.
                                   Docket No. 1:22-CV-07855 (RA)

 Dear Judge Abrams:

          We represent the Defendants in the above-referenced action. With the consent of
 plaintiff’s counsel, we write to request an adjournment of the December 2nd initial status
 conference as we have not responded to the complaint and were only recently retained. This
 request would also include the case management plan and letter contemplated by your Honor’s
 Rules and order issued prior to our recent appearance. This is the first request for an adjournment
 on behalf of the Defendants.

                 Thank you for your attention to this matter.

cc: All counsel via ECF                                                        Respectfully submitted,
                                                                               MIRANDA SLONE SKLARIN VERVENIOTIS LLP



                                                                               Michael A. Miranda
